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              UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF TEXAS
                  FORT WORTH DIVISION


  Texas, et al.,

                        Plaintiffs,

  v.

  United States of America, et al.,
                                               Case No. 4:18-cv-167-O
                        Defendants,

  v.

  California, et al.,

                        Intervenor-
                        Defendants.


         UNOPPOSED MOTION TO WITHDRAW APPEARANCE
       Attorney Jonathan F. Mitchell respectfully moves to withdraw his appearance on
 behalf of plaintiffs Neill Hurley and John Nantz. Mr. Hurley and Mr. Nantz will con-
 tinue to be represented by Robert Henneke, who has already noticed his appearance
 in the case. The other parties have no objection to this motion.

                                            Respectfully submitted.

                                             /s/ Jonathan F. Mitchell
                                            Jonathan F. Mitchell
                                            Texas Bar No. 24075463
                                            Mitchell Law PLLC
                                            106 East Sixth Street, Suite 900
                                            Austin, Texas 78701
                                            (512) 686-3940 (phone)
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                                            jonathan@mitchell.law

                                            Counsel for Plaintiffs
                                            Neill Hurley and John Nantz


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                          CERTIFICATE OF SERVICE
     I certify that on December 8, 2018, I served this document through CM/ECF
 on all counsel of record for the parties in this case.


                                       /s/ Jonathan F. Mitchell
                                      Jonathan F. Mitchell
                                      Counsel for Plaintiffs
                                      Neill Hurley and John Nantz




                       CERTIFICATE OF CONFERENCE
     I certify that I conferred with counsel for the plaintiffs and counsel for the de-
 fendants, and they have no objection to this motion.


                                       /s/ Jonathan F. Mitchell
                                      Jonathan F. Mitchell
                                      Counsel for Plaintiffs
                                      Neill Hurley and John Nantz




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